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                          IN THE UNITED STATES DISTRIC COURT
                             FOR THE DISTRICT OF COLORADO
  Civil Action No. 15-cv-2507-JLK

  KYLE JEFFERY SCHWARK,

         Plaintiff,
  v.

  DOCTOR KATHERINE FITTING, in her individual capacity, and
  CAPTAIN DANIEL MULDOON, in his individual capacity,

         Defendants.


                                   PLAINTIFF’S EXHIBIT LIST


         Plaintiff Kyle Schwark, by and through undersigned counsel hereby submits his List of

  Exhibits to the Final Pretrial Order:


EX       DESCRIPTION           STIP. DATE DATE           OBJECTION           COURT USE ONLY
NO.                                  ADM. REJ.

 1. Plaintiff’s 2011
    Federal Income Tax
    Return form 1040
       Depo Ex 1,
       SCHWARK 000689

 2. Park County Jail
    Medical Sheet
    November 2013, Depo
    Ex 2

 3. Park County Detention
    Center – Inmate
    Request Form,
    11/13/13, Depo Ex 3




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NO.                                ADM. REJ.

 4. Hand-drawing of
    detention area by Kyle
    Schwark, Depo Ex. 4

 5. Park County Jail
    Medical Sheet for Kyle
    Schwark, 2/25/14,
    Depo Ex. 5; A 0283-
    286
 6. Cell phone screen
    shots of Identifying
    information on
    Plaintiff, with
    highlights and notes.
    Depo Ex. 6

 7. Medical History
    Record of Kyle
    Schwark dated
    10/29/08, Depo. Ex 7,
    SCHWARK 001193

 8. HealthFirst Drug and
    Alcohol Use History
    Form of Kyle
    Schwark, dated
    10/29/2008, Depo Ex.
    8, SCHWARK 000974

 9. HealthFirst Medical
    History Form of Kyle
    Schwark, dated
    10/29/2008, Depo Ex.
    9, SCHWARK
    000970-971




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NO.                                 ADM. REJ.

 10. LabCorp Medical
     Record of Kyle
     Schwark dated
     10/29/2008, Depo Ex
     10, SCHWARK
     000977-978

 11. HealthFirst Medical
     History Form of Kyle
     Schwark, dated
     11/6/2008, Depo Ex.
     11, (no Bates)

 12. HealthFirst Medical
     History Follow Up
     Form of Kyle
     Schwark, dated
     11/6/2008, Depo Ex.
     12, (no Bates)

 13. Doctor’s Data
     Urinalysis Report for
     Kyle Schwark dated
     6/5/2012, Depo Ex 13
     (no Bates)

 14. LabCorp Report on
     Kyle Schwark, PSA
     Report dated 6/6/12,
     Depo Ex. 14 (no Bates)

 15. Medical Records of
     Kyle Schwark, dated
     10/29/12, Depo. Ex. 15
     (no Bates)




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EX     DESCRIPTION           STIP. DATE DATE   OBJECTION     COURT USE ONLY
NO.                                ADM. REJ.

 16. Prescription from
     Jonathan Singer for
     Kyle Schwark, dated
     7/22/10, Depo Ex. 16,
     SCHWARK 000952

 17. Misc. HealthFirst
     Medical Records for
     Kyle Schwark, Depo
     Ex 17, Multi Bates
     Nos.

 18. Ledger Card for Kyle
     Schwark, 12/30/15
     through 12/16/16,
     Depo Ex 18

 19. Prescription for
     Chlodiazepoxide from
     Jonathan Singer for
     Kyle Schwark, dated
     2/21/14, Depo Ex. 19,
     SCHWARK 001186

 20. Undated Letter from
     Dr. Singer re: Kyle
     Schwark indicating
     medications he
     requires. Depo Ex 20,
     SCHWARK 000087

 21. 11/14/13 Note from
     Cathlene Pearce re
     Kyle Schwark
     medication, Depo Ex
     21, SCHWARK
     000093




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EX      DESCRIPTION           STIP. DATE DATE   OBJECTION    COURT USE ONLY
NO.                                 ADM. REJ.

 22. Prescription and drug
     information for
     Alprazolam to Kyle
     Schwark, dated
     10/17/13, Depo Ex. 22,
     SCHWARK 000058

 23. Curriculum Vitae for
     Katherine Fitting, MD,
     Depo Ex 23(no Bates)

 24. Medical Request from
     Kyle Schwark, dated
     11/14/13, Depo Ex 24,
     SCHWARK 000092

 25. Denver Health Medical
     Center Discharge
     Summary for Kyle
     Schwark dated
     11/19/13, Depo Ex 25,
     SCHWARK 000095-
     96

 26. UA Dipstick Results,
     dated 2/27/14, Depo
     Ex 26, SCHWARK
     000063

 27. Prescription of Dr.
     Fitting for Suboxone,
     Chlorazapoxide, for
     Kyle Schwark, Depo
     Ex 27, SCHWARK
     000091




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NO.                                  ADM. REJ.

 28. Email chain between
     Susan Cantebury and
     Cynthia Parker re:
     Kyle Schwark, 3/5-
     6/14, Depo Ex 28,
     SCHWARK 000098-
     99;
     SCHWARK000089

 29. Narrative of Jeri
     Swann dated 2/16/16,
     Depo Ex. 29, A 0310

 30. Medical Order of
     Cynthia Parker for
     Kyle Schwark dated
     3/12/14, Depo Ex. 30,
     Schwark.Park000038-
     42

 31. Personnel Records of
     Cathlene Pearce dated
     2/21/14, Depo Ex. 31,
     Schwark.Park000409-
     418

 32. Judgment of
     Conviction of Kyle
     Schwark, Park County
     District Court case no.
     2013CR000025, Depo
     Ex. 32,
     Schwark.Park000309

 33. Order of furlough by
     Park County Sheriff’s
     Office, Depo Ex. 33,
     SCHWARK 000038




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NO.                                ADM. REJ.

 34. Park County Sheriff’s
     Office Detention
     Center Policies, Depo
     Ex. 34, Schwark.Park
     000133-171

 35. Memorandum from D.
     Muldoon to Denver
     Health Center.
     Schwark.Park50

 36. Case Pleadings from
     Criminal case no.
     13CR25, Park County
     District Court.
     SCHWARK-1-18

 37. Reporters Transcript
     from Sentencing of
     Kyle Jeffrey Schwark,
     11/6/2013.
     SCHWARK-19-37

 38. Notice of Claim.
     SCHWARK-39-48

 39. Park County Jail
     Records of Kyle
     Schwark, SCHWARK-
     49-427

 40. Medical Letter from
     Jonathan Singer D.O.
     to Park County,
     8/22/14.SCHWARK-
     428-9




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 41. HealthFirst; Medical
     Records of Kyle
     Schwark SCHWARK-
     430-470

 42. Denver Health Medical
     Records of Kyle
     Schwark SCHWARK-
     471-643

 43. Medical Billing
     Records of Kyle
     Schwark, SCHWARK-
     644-666

 44. Insurance Information
     for Kyle Schwark.
     SCHWARK-667-685

 45. Tax returns of Kyle
     Schwark 2008-2012.
     SCHWARK-686-690

 46. Vail Orthopedics
     Medical Records of
     Kyle Schwark.
     SCHWARK-691-788

 47. Summit County Jail
     Resident Request
     Reports. SCHWARK-
     789-828

 48. Summit County
     Ambulance Service
     Invoice and records.
     SCHWARK-829-830




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NO.                                 ADM. REJ.

 49. St. Anthony Summit
     Medical Center
     Records of Kyle
     Schwark. SCHWARK-
     831-832

 50. HealthFirst Medical
     Records of Kyle
     Schwark. SCHWARK-
     833-880

 51. Rocky Mountain
     Health Plans Billing
     Records of Kyle
     Schwark. SCHWARK-
     881-899

 52. August 26, 2016 Letter
     from the Office of the
     Summit County Sheriff
     in response to CORA
     request. SCHWARK-
     900

 53. Affidavit of
     Warrantless Arrest by
     Christen Lish.
     SCHWARK-901-904

 54. Summit County
     Sheriff’s Office
     response to Kite of
     Kyle Schwark.
     SCHWARK-905-906

 55. Summit County
     Ambulance Service
     Records. SCHWARK-
     907-914




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EX      DESCRIPTION           STIP. DATE DATE   OBJECTION     COURT USE ONLY
NO.                                 ADM. REJ.

 56. Kroger Pharmacy
     Records of Kyle
     Schwark. SCHWARK-
     915-924

 57. Colorado Imaging
     Associates Letter of
     No Records.
     SCHWARK-925

 58. Jonathan W. Singer,
     DO Medical Records
     of Kyle Schwark.
     SCHWARK-926-1028

 59. Rocky Mountain
     Health Plans Letter of
     No Records.
     SCHWARK-1029

 60. Mountain Family
     Center Medical
     Records for Kyle
     Schwark. SCHWARK-
     1030-1065

 61. St. Anthony Medical
     Center Medical
     Records for Kyle
     Schwark. SCHWARK-
     1066-1139

 62. Medical records of
     James Oberheide, MD
     for Kyle Schwark.
     SCHWARK-1140-
     1152




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NO.                                ADM. REJ.

 63. LabCorp Medical
     Records for Kyle
     Schwark. SCHWARK-
     1153-1167

 64. Solvista Letter of No
     Records for Kyle
     Schwark. SCHWARK-
     1168-1169

 65. Family Integration
     Counseling Service
     Medical Records for
     Kyle Schwark.
     SCHWARK-1170-
     1181

 66. Letter of Jonathan W.
     Singer, DO re: Kyle
     Schwark. SCHWARK-
     1182-1198

 67. November 12, 2013
     Medical Questionnaire
     and Emergency
     Notification of Kyle
     Schwark.
     Schwark.Park1-2
 68. Photos of Medication.
     Schwark.Park3-4

 69. Inmate Request Form,
     11/13/13.
     Schwark.Park5

 70. Letter from Jonathan
     Singer, D.O.
     Schwark.Park6




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NO.                                 ADM. REJ.

 71. Narrative of Cathlene
     Pearce RN, 11/14/13.
     Schwark.Park7

 72. Narrative of Jerri
     Swan, RN,
     Schwark.Park8

 73. November 2013
     Medication Sheets
     Schwark.Park9-10

 74. Medication Request
     11/14/13.
     Schwark.Park11

 75. Case Report Number
     D0001479
     Continuation Sheets.
     Schwark.Park12-14

 76. Handwritten notes.
     Schwark.Park15

 77. 11/15/13 Letter from
     Park County Sheriff
     releasing Kyle
     Schwark, with
     handwritten notes.
     Schwark.Park16

 78. Narrative of 11/20/13,
     author unknown.
     Schwark.Park17

 79. Park County Sheriff
     request to Denver
     Health for discharge
     summary.
     Schwark.Park18




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 80. Denver Health
     Discharge Summary
     for Kyle Schwark.
     Schwark.Park19-22

 81. Medical Questionnaire
     and Emergen
     Notification 2/26/14.
     Schwark.Park23-24

 82. Schwark Inmate View.
     Schwark.Park25

 83. 2/25/14 Instructions
     from Dr. Fitting.
     Schwark.Park26

 84. February 2014
     Medication Sheet.
     Schwark.Park27

 85. March 2014 Medical
     Sheet. Schwark.Park28

 86. UA Dipstick results.
     Schwark.Park29

 87. Medical records from
     Jonathan W. Singer.
     Schwark.Park30-32

 88. Email between Susan
     Canterbury and
     Cynthia Parker re:
     Kyle Schwark.
     Schwark.Park33-34

 89. March 12, 2014 Orders
     from Cynthia Parker,
     PsyD.
     Schwark.Park38-42



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NO.                                 ADM. REJ.

 90. Email between Susan
     Canterbury and
     Cynthia Parker re:
     Kyle Schwark.
     Schwark.Park43-45

 91. March 19, 2014 Orders
     from Cynthia Parker,
     PsyD.
     Schwark.Park46-47

 92. March 2014
     Medication Sheets.
     Schwark.Park48-49

 93. Denver Health Medical
     Records.
     Schwark.Park51-95

 94. Medical
     Questionnaires and
     Emergency
     Notifications.
     Schwark.Park96-97

 95. 2/4/16 Inmate View for
     Kyle Schwark.
     Schwark.Park98-110

 96. Authorization to
     Disclose Health
     Information.
     Schwark.Park111

 97. Photograph of
     Medications.
     Schwark.Park112

 98. Detention Center
     memo re Schwark.
     Schwark.Park113



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EX      DESCRIPTION            STIP. DATE DATE   OBJECTION    COURT USE ONLY
NO.                                  ADM. REJ.

 99. Park County District
     Court Documentation.
     Schwark.Park114-133

 100 Active Booking
     Records.
     Schwark.Park172-205

 101 Park County File on
     Kyle Schwark.
     Schwark.Park206-220

 102 Kyle Schwark Park
     County File 1/6/13.
     Schwark.Park221-253

 103 Kyle Schwark Park
     County File 6/5/13.
     Schwark.Park254-288

 104 Kyle Schwark Park
     County File 4/1/14.
     Schwark.Park289-338

 105 Kyle Schwark Park
     County File 4/16/14.
     Schwark.Park339-373

 106 Personnel File of
     Susan Canterbury-
     Redacted.
     Schwark.Park374-408

 107 Personnel File of Jeri
     Swann-Redacted.
     Schwark.Park419-434

 108 Personnel File of Frank
     Wegener-Redacted.
     Schwark.Park435-766




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EX      DESCRIPTION          STIP. DATE DATE   OBJECTION      COURT USE ONLY
NO.                                ADM. REJ.

 109 COPIC Declaration
     Page for Katherine
     Fitting, M.D. 2 pages
     (No Bates Nos.)




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